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                                                                                                     ELECTRONICALLY FILED - 2022 Sep 29 8:57 AM - NEWBERRY - COMMON PLEAS - CASE#2022CP3600387
STATE OF SOUTH CAROLINA                             IN THE COURT OF COMMON PLEAS
COUNTY OF NEWBERRY                                  FOR THE EIGHTH CIRCUIT

RICARDO HICKS,                                      CASE NO. 2022-CP-36-

              PLAINTIFF,
                                                        SUMMONS
V.                                                 (Jury Trial Demanded)

OLD DOMINION FREIGHT LINE AND
JOHN DOE,

               DEFENDANTS.


TO THE DEFENDANTS NAMED ABOVE:


        YOU ARE HEREBY SUMMONED and required to answer the Complaint herein, a copy

of which is herewith served upon you, and to serve a copy of your Answer to this Complaint upon

the subscriber, at the address shown below, within thirty (30) days after service hereof exclusive

of the day of such service, and if you fail to answer the Complaint,judgment by default will be

rendered against you for the relief demanded in the Complaint.


THE MELONAKOS LAW FIRM                              s/ Ryan P. Alderson
1310 Augusta Street                                 Ryan P. Alderson, Esq.
Greenville, SC 29605                                SC Bar No. 103126
864-485-5555                                        Attorneyfor Plaintiff
864-752-1600
ryan@scinjuryattorney.com
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STATE OF SOUTH CAROLINA                              IN THE COURT OF COMMON PLEAS
COUNTY OF NEWBERRY                                   FOR THE EIGHTH CIRCUIT

RICARDO HICKS,                                       CASE NO. 2022-CP-36-

                PLAINTIFF,
                                                     COMPLAINT FOR DAMAGES
V.                                                      (Jury Trial Demanded)

OLD DOMINION FREIGHT LINE AND
JOHN DOE,

                DEFENDANTS.



         COMES NOW,Ricardo Hicks, by and through the undersigned counsel of record and files

this Complaint for Damages against Defendants Old Dominion Freight Line and John Doe, and

hereby shows this Honorable Court as follows:

             PARTIES,JURISDICTION, VENUE,AND SERVICE OF PROCESS

1. The Plaintiff is a citizen ofthe State of Alabama and, by bringing this action, subjects himself

     to the jurisdiction ofthis Court.

2. The Defendant, Old Dominion Freight Line (hereinafter "Old Dominion"), is a foreign

      corporation that conducts business hauling goods over the roadways of South Carolina and is

      subject to the jurisdiction of this Court. Old Dominion may be served with process at C T

      Corporation System, 2 Office Park Court, Suite 103, Columbia, South Carolina 29223.

3. The Defendant, John Doe (hereinafter "Defendant Doe")is unknown. While Plaintiff believes

      Old Dominion is fully responsible for this incident, Plaintiff has included Defendant Doe out

      of an abundance of caution.

4. The collision giving rise to this action occurred in Newberry County, South Carolina.

5. Venue and jurisdiction are proper for the foregoing reasons.
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6. The Defendant has been properly served with process in this action.

                                   FACTUAL BACKGROUND

7. The Plaintiff repeats the foregoing allegations as if repeated here, verbatim.

8. On 12/17/2019, the Plaintiff, was traveling on 1-26 in Newberry County, South Carolina.

9. At the same time, Defendant Doe was operating an Old Dominion tractor trailer on 1-26 in

   Newberry County, South Carolina when it struck the Plaintiff's vehicle in the rear.

10. The tractor-trailer involved in the collision was owned by Old Dominion.

1 1. Defendant Doe was operating the Old Dominion tractor trailer in the performance of his job

    duties with Old Dominion at the time ofthe collision.

12. The force of the collision directly and proximately caused the Plaintiff to suffer injuries and

    damages.

                               FOR A FIRST CAUSE OF ACTION
                                  (Negligence of Defendant Doe)

13. The Plaintiff repeats the foregoing allegations as if repeated here, verbatim.
14. Defendant Doe owed the Plaintiff certain duties, including, but not limited to, duties of care
    to:
          a. operate the vehicle in a reasonably safe manner;
          b. obey the rules of the road;
          c. obey the statutes that govern the operation of motor vehicles on the roadways of South
             Carolina;
          d. leave a safe distance between his vehicle and other vehicles;
          e. slow his vehicle as required by traffic, road, and weather conditions;
          f. yield to other vehicles with the right of way;
          g. perform other duties as will be shown through discovery and at trial.
15. Breaches of that duty of care constitute negligence and sometimes recklessness.
16. Defendant Doe breached his duty of care to the Plaintiff in one or more ofthe following ways:
          a. failing to apply brakes or failing to maintain brakes in a safe operating condition;
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       b. failing to keep a proper lookout;
       c. failing to maintain a safe distance while traveling near the Plaintiff;
       d. failing to keep his vehicle under proper control;
       e. failing to slow his vehicle by reason of traffic, road and/or weather conditions;
       f. failing to yield right of way;
       g. driving too fast for conditions; and
       h. in such other ways as will become evident through discovery.
17. As a direct and proximate result ofthe Defendant's negligence, the Plaintiff has suffered some,
   or all, ofthe following injuries and damages:
       a. expenses for medical care and treatment, in the past, present, and future;
       b. physical pain and suffering;
       c. emotional trauma;
       d. partial and permanent impairment of physical function;
       e. inconvenience;
       f. temporary and permanent partial inability to engage in activities of daily living;
       g. lost time and opportunity to earn income;
       h. property damage;
       i. loss ofenjoyment of life; and
       j. other damages that will be shown through discovery and at trial.
18. The Plaintiff is therefore informed and believes he is entitled to judgment against the
   Defendant for damages.


                            FOR A SECOND CAUSE OF ACTION
                                 (Negligence of Old Dominion)
19. The Plaintiff repeats the foregoing allegations as if repeated here, verbatim.
20. Old Dominion is liable under the doctrine of respondeat superior or vicarious liability for the
   tortious acts and/or omissions of its agents, employees, servants, or contractors, including the
   driver ofthe subject truck.
21. Old Dominion is liable for tortiously failing to properly instruct, train, and supervise its
   employee, agent, servant, or contractor.
22. Old Dominion is liable for negligently instituting, either expressly or by implication, policies,
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                                                                                                       ELECTRONICALLY FILED - 2022 Sep 29 8:57 AM - NEWBERRY - COMMON PLEAS - CASE#2022CP3600387
   and practices that encouraged its drivers to operate vehicles in an unsafe or imprudent manner
   and that compromised the safety of other drivers on the roadway, and the safety ofPlaintiff in
   particular.
23. Together with the negligence of its truck driver, the tortious acts and/or omissions committed
    by Old Dominion, or through its agents, employees, servants, or contractors, as set forth above,
   directly and/or proximately caused the subject collision and injuries to the Plaintiff.
24. Old Dominion is liable, along with its truck driver for the injuries and damages Plaintiff
   suffered as a direct and/or proximate result of Defendants' negligence, which damages will be
   determined based upon the evidence at trial.


                             FOR A THIRD CAUSE OF ACTION
                                    (Negligent Entrustment)
25. The Plaintiff repeats the foregoing allegations as if repeated here, verbatim.
26. Plaintiff is further entitled to damages from Old Dominion due to its negligent entrustment of
    its job performance or assignment to its truck driver.
27. As a result of said negligent entrustment, Plaintiff suffered injuries.
28. As a result, Plaintiff suffered and continues to suffer bodily, mental, and emotional pain and
    suffering, diminished enjoyment of life, and medical-related expenses and lost wages.
29. The Plaintiff is therefore informed and believes he is entitled to judgment against Old
    Dominion for damages.


                            FOR A FOURTH CAUSE OF ACTION
                                       (Negligent Hiring)
30. The Plaintiff repeats the foregoing allegations as if repeated here, verbatim.
31. Plaintiff is further entitled to damages from Old Dominion due to its negligent hiring and/or
    contracting with its truck driver to haul goods over the highways of South Carolina when it
    knew or should have known that its truck driver was not a safe driver, and it was likely that
    some injury would occur.
32. As a result of said negligent hiring, Plaintiff suffered serious injury.
33. As a result, Plaintiff suffered and continues to suffer bodily, mental, and emotional pain and
    suffering, diminished enjoyment of life, and medical-related expenses and lost wages.
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34. The Plaintiff is therefore informed and believes he is entitled to judgment against Old
   Dominion for damages.



                                   PRAYER FOR RELIEF

       WHEREFORE,the Plaintiff prays for ajury trial, and judgment against the Defendants for

actual damages, punitive damages, nominal damages, the costs of this action, and for such other

and further relief as the Court deems just and proper.

                                                     Respectfully submitted,

THE MELONAKOS LAW FIRM                               s/ Ryan P. Alderson
1310 Augusta Street                                  Ryan P. Alderson, Esq.
Greenville, SC 29605                                 SC Bar No. 103126
864-485-5555        •                                Attorneyfor Plaintiff
864-752-1600
ryan@scinjuryattorney.com
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                                                                                                        CT Corporation
                                                                                         Service of Process Notification
                                                                                                                 10/03/2022
                                                                                                    CT Log Number 542420463


Service of Process Transmittal Summary

TO:       Ross H. Parr
          Old Dominion Freight Line, Inc.
          500 Old Dominion Way
          Thomasville, NC 27360-8923

RE:       Process Served in South Carolina

FOR:      Old Dominion Freight Line, Inc. (Domestic State: VA)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        Re: RICARDO HICKS // To: Old Dominion Freight Line, Inc.

CASE #:                                 2022CP3600387

NATURE OF ACTION:                       Personal Injury - Vehicle Collision

PROCESS SERVED ON:                      CT Corporation System, Columbia, SC

DATE/METHOD OF SERVICE:                 By Traceable Mail on 10/03/2022

JURISDICTION SERVED:                    South Carolina

ACTION ITEMS:                           CT has retained the current log, Retain Date: 10/03/2022, Expected Purge Date:
                                        10/08/2022

                                        Image SOP

                                        Email Notification, Kelly Fesperman kelly.fesperman@odfl.com

                                        Email Notification, Ross H. Parr ross.parr@odfl.com

                                        Email Notification, Peter Murphy Peter.murphy@odfl.com

                                        Email Notification, Wendy English wendy.english@odfl.com

REGISTERED AGENT CONTACT:               C T Corporation System
                                        2 Office Park Court
                                        Suite 103
                                        Columbia, SC 29223
                                        866-665-5799
                                        SouthTeam2@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
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Ricardo Hicks
